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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

                                                   )
 UNITED STATES OF AMERICA,                         )
                                                   )
                 Plaintiff,                        )
                                                   )
         v.                                        )
                                                             Civil Action No. 20-606 (TJK)
                                                   )
 113 VIRTUAL CURRENCY ACCOUNTS,                    )
 et al.,                                           )
                                                   )
                 Defendants In Rem.                )
                                                   )

                                           STATUS REPORT

        The United States of America, by and through undersigned counsel, respectfully submits

this status report.

        1.      On March 2, 2020, the United States commenced this forfeiture action by filing the

Verified Complaint for Forfeiture In Rem. See Compl. (ECF No. 1).

        2.      On March 6, 2020, the United States filed the First Amended Verified Complaint

for Forfeiture In Rem. See Amended Compl. (ECF No. 3).

        3.      On August 4, 2020, the Court issued a Warrant for Arrest In Rem. See Warrant

(ECF No. 7).

        4.      The United States commenced notification of the forfeiture action through direct

notice and publication in March 2020. See Affidavit in Support of Default (ECF No. 15) ¶¶ 6, 8.

No party filed a claim. See id. ¶¶ 7, 9.

        5.      On October 14, 2020, the Clerk of the Court entered default as to the Defendant

Properties. See Entry of Default (ECF No. 16).
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       6.      On July 23, 2021, the Court denied the United States’ motion for default judgment

without prejudice. See Minute Entry (July 23, 2021).

       7.      On October 13, 2021, the United States filed the Second Amended Verified

Complaint for Forfeiture In Rem. See Second Amended Compl. (ECF 24).

       8.      On December 10, 2021, the United States began publishing notice of the amended

forfeiture action. See Decl. in Support of Default ¶ 15 (ECF No. 29). On December 30, 2021, the

United States sent direct notice of the amended forfeiture action to known, potential claimants.

See id. ¶ 11. No party filed a claim. See id. ¶¶ 13, 15.

       9.      On April 5, 2022, the United States filed a declaration in support of default. See

Decl. in Support of Default (ECF No. 29).

       10.     On April 7, 2022, the Clerk of Court entered a default against the Defendant

Properties. See Default (ECF No. 30).

       11.     The United States anticipates filing a motion for default judgment. In light of

competing obligations in other matters, undersigned counsel require additional time to complete

and file that motion for default judgment.

       WHEREFORE, the United States respectfully requests leave to move for entry of default

judgment or file a status report on or before June 17, 2022.

                                         *       *         *




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                           Respectfully submitted,

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